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 8
                           IN THE UNITED STATES DISTRICT COURT
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                              EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                    CASE NO. 1:12-CR-0213-AWI-BAM
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                               Plaintiff,         ORDER FOR FORFEITURE MONEY
13                                                JUDGMENT
                         v.
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     ARLENE JEANETTE MOJARDIN,
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                               Defendant.
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           Based upon the United States’ Application for Forfeiture Money Judgment and the
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     plea agreement entered into between plaintiff United States of America and defendant
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     Arlene Jeanette Mojardin,
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           IT IS HEREBY ORDERED that
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           1.     The defendant Arlene Jeanette Mojardin shall forfeit to the United States the
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     determined sum of $3,713,600 and that the Court imposes a personal forfeiture money
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     judgment against defendant in that amount.
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           2.     Any funds applied towards such judgment shall be forfeited to the United
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     States of America and disposed of as provided for by law. Prior to the imposition of
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     sentence, any funds delivered to the United States to satisfy the personal money judgment
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     shall be seized and held by the Department of Treasury, in its secure custody and control.
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      Order for Forfeiture Money Judgment         1
         Case 1:12-cr-00213-AWI-BAM Document 231 Filed 05/15/15 Page 2 of 2


 1        3.     This Order of Forfeiture shall become final as to the defendant at the time of
 2 sentencing and shall be made part of the sentence and included in the judgment.

 3        4.     The United States may, at any time, move pursuant to Rule 32.2(e) to amend
 4 this Order of Forfeiture to substitute property having a value not to exceed $3,713,600 to

 5 satisfy the money judgment in whole or in part.

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 7 IT IS SO ORDERED.

 8 Dated: May 15, 2015
                                          SENIOR DISTRICT JUDGE
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     Order for Forfeiture Money Judgment         2
